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                                                                                                   November 4, 2020
  BY ECF
                                                                                                     USDC SDNY
  Hon. Mary Kay Vyskocil                                                                             DOCUMENT
  Daniel Patrick Moynihan                                                                            ELECTRONICALLY FILED
  United States Courthouse                                                                           DOC #:
  500 Pearl St.                                                                                      DATE FILED: 11/9/2020
  New York, NY 10007

  Re: U.S. v. Martinez (MKV)
  20 Cr. 213


  Dear Judge Vyskocil,

          I represent Victor Martinez in the above captioned case. He is currently out on bond, with one of the conditions

  being that his travel is restricted to the Eastern and Southern Districts of New York. As the court is aware, Mr. Martinez’s

  mother suffered two strokes on October 1, 2020. Mr. Martinez traveled there for one week with the court’s approval. Ms.

  Martinez is recovering from those strokes in Boston, Massachusetts and Mr. Martinez would like to continue to visit her. I

  am writing to respectfully request that Mr. Martinez’s bail conditions be modified to allow him to travel to Boston,

  Massachusetts to visit his mother Jeanine Martinez upon advance notice to Pretrial Services


          I have spoken to the Government who take no position but defer to Pretrial Services. Mr. Martinez’s Pretrial officer

  Ms. Piperato has no objection to this request if Mr. Martinez provides her with the address where he will be staying and

  continues to check in with her weekly.


                                                                                                   Respectfully Submitted,
GRANTED. Mr. Martinez's bail conditions are modified to permit him to
travel to Boston, Massachusetts for the purpose of visiting his mother,
provided that he notifies Pretrial Services of the travel at least 24 hours in                     __________________
advance, provides to Pretrial Services the address where he will be staying                        Christine Delince, Esq.
and any contact information for him at that address, and continues to check
in with his Pretrial Services Officer as scheduled. SO ORDERED.
                     11/9/2020




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